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7

8
                                  UNITED STATES DISTRICT COURT
9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11

12 UNITED STATES OF AMERICA,                        )   CASE NO. CR-09-0125-FCD
                                                    )
13                                Plaintiff,        )   ORDER CONTINUING SENTENCING
                                                    )   HEARING FROM JANUARY 24, 2011 TO
14          v.                                      )   FEBRUARY 28, 2011
                                                    )
15 SARTAJ CHAHAL,                                   )
16                                                  )
                           Defendant.               )
17 ________________________________                 )

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19
     For good cause shown, IT IS HEREBY ORDERED THAT:
20
            The Stipulation to Continue the Sentencing Hearing presently set for January 24, 2011 at
21
     10:00 AM is hereby granted and the Sentencing Hearing is hereby continued to February 28, 2011 at
22

23 10:00 AM.

24 Dated: January 14, 2011

25                                             _______________________________________
26                                             FRANK C. DAMRELL, JR.
                                               UNITED STATES DISTRICT JUDGE
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